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VIA FACSIMILE

November 5, 2018

Douglas Hibbard
Chief, Initial Request Staff
Office of Information Policy
Department of Justice
Suite 11050
1425 New York Avenue, N.W.
Washington, D.C., 20530-0001
Fax: (202) 514-1009

Dear Mr. Hibbard,

       This letter constitutes a request under the Freedom of Information Act (“FOIA”), 5
U.S.C. § 552(a), and is submitted on behalf of the Electronic Privacy Information Center
(“EPIC”) to the Department of Justice’s (“DOJ”) Office of Information Policy (“OIP”).

       EPIC seeks documents, in the possession of the agency, concerning the investigation by
Special Counsel Robert S. Mueller into Russian interference in the 2016 United States
presidential election and related matters.

                                       Documents Requested

       EPIC requests the following records concerning the Special Counsel investigation into
Russian interference with the presidential election:1

    (1)(a) All “report[s]” and “closing documentation” prepared under 28 C.F.R. § 600.8(c),
           whether or not such records were actually provided to the Attorney General or Acting
           Attorney General;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “report” or “closing documentation” under 28 C.F.R. § 600.8(c);

    (2)(a) All “report[s]” concerning “the status of the investigation” prepared under 28 C.F.R.
           § 600.8(a)(2), whether or not such records were actually provided to the Attorney
           General or Acting Attorney General;


1
 U.S. Dep't of Justice, Office of the Deputy Attorney General, Order No. 3915-2017, Appointment of
Special Counsel to Investigate Russian Interference with the 2016 Presidential Election and Related
Matters (May 17, 2017), https://www.justice.gov/opa/press-release/file/967231/download [hereinafter
Appointment Order].

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      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “report” concerning “the status of the investigation” under 28 C.F.R. §
          600.8(a)(2);

    (3)(a) All records “expla[ining] . . . any investigative or prosecutorial step” under 28 C.F.R.
           § 600.7(b), whether or not such records were actually provided to the Attorney
           General or Acting Attorney General;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “explanation for any investigative or prosecutorial step” under 28 C.F.R. §
          600.7(b);

    (4)(a) All records prepared under 28 C.F.R. § 600.9(a) to “notify the Chairman and Ranking
           Minority Member of the Judiciary Committees of each House of Congress” of a
           development in the Special Counsel investigation, whether or not such records were
           actually transmitted to any member of Congress;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned notification under 28 C.F.R. § 600.9(a);

    (5)(a) All referrals by the Special Counsel, Attorney General, or Acting Attorney General
           for “administrative remedies, civil sanctions or other governmental action outside the
           criminal justice system” under 28 C.F.R. § 600.4(c), whether or not such records were
           actually transmitted to any party outside of the Special Counsel’s Office;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned referral for “administrative remedies, civil sanctions or other governmental
          action outside the criminal justice system” under 28 C.F.R. § 600.4(c);

    (6)(a) All “report[s],” “recommendation[s],” and other “compilation[s] of information”
           prepared for the eventual consideration of one or more members of Congress,2
           whether or not such records were actually transmitted to any party outside of the
           Special Counsel’s Office;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned report, recommendation, or compilation of the type described in Category
          (6)(a) of this request;

    (7)(a) All other reports summarizing or describing, for one or more persons outside of the
           Special Counsel’s Office, (i) any of the Special Counsel’s evidence, findings,
           decisions, actions, or planned actions, or (ii) any developments in the Special Counsel
           investigation; and


2
 In re Report & Recommendation of June 5, 1972 Grand Jury Concerning Transmission of Evidence to
House of Representatives, 370 F. Supp. 1219, 1221, 1226 (D.D.C. 1974), aff’d sub nom. Haldeman v.
Sirica, 501 F.2d 714 (D.C. Cir. 1974).

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      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned report of the type described in Category (7)(a) of this request.

EPIC does not seek records which have already been disclosed to the public in their complete
and unredacted form (i) in the course of an open judicial proceeding; (ii) available at
https://www.justice.gov/sco; or (iii) available at https://www.justice.gov/news.

                                             Background

        EPIC’s FOIA request, and the Special Counsel investigation to which it pertains, arise
out of the Russian government’s coordinated campaign to interfere with the 2016 U.S.
presidential election.

Russian Interference in the 2016 U.S. Presidential Election

       In 2016, the Russian government carried out a multi-pronged attack on the U.S.
Presidential Election to destabilize U.S. democratic institutions and aid the candidacy of Donald
J. Trump. As explained in the declassified 2017 Intelligence Community Assessment (“ICA”) on
Russian election interference:3

       We assess with high confidence that Russian President Vladimir Putin ordered an
       influence campaign in 2016 aimed at the US presidential election, the consistent
       goals of which were to undermine public faith in the US democratic process,
       denigrate Secretary Clinton, and harm her electability and potential presidency. We
       further assess Putin and the Russian Government developed a clear preference for
       President-elect Trump. When it appeared to Moscow that Secretary Clinton was
       likely to win the election, the Russian influence campaign then focused on
       undermining her expected presidency.

       We also assess Putin and the Russian Government aspired to help President-elect
       Trump’s election chances when possible by discrediting Secretary Clinton and
       publicly contrasting her unfavorably to him.4

        The ICA—along with the reports, investigations, and prosecutions that have ensued—
establishes that Russia interfered with the 2016 election on at least four fronts.

       First, “Russia’s intelligence services conducted cyber operations against targets
associated with the 2016 US presidential election, including targets associated with both major


3
  Office of the Dir. of Nat’l Intelligence, ICA 2017-01D, Intelligence Community Assessment: Assessing
Russian Activities and Intentions in Recent US Elections (Jan. 6, 2017),
https://www.dni.gov/files/documents/ICA_2017_01.pdf [hereinafter Intelligence Community
Assessment]; see also EPIC, EPIC v. ODNI (Russian Hacking) (Dec. 18, 2017),
https://www.epic.org/foia/odni/russian-hacking/ (EPIC FOIA lawsuit to obtain full Intelligence
Community Assessment on which declassified version was based).
4
  Intelligence Community Assessment, supra note 3, at 1.

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US political parties.”5 These operations included the “exfiltrat[ion of] large volumes of data”
from the Democratic National Committee (“DNC”) and “the compromise of the personal e-mail
accounts of Democratic Party officials and political figures.”6

       Second, Russian intelligence services “used the Guccifer 2.0 persona, DCLeaks.com, and
WikiLeaks to release US victim data obtained in cyber operations publicly and in exclusives to
media outlets.”7 These disclosures included data extracted by Russian intelligence from DNC
networks.8 Subsequent investigation has also revealed that senior Trump campaign officials
engaged in multiple meetings with Russian intermediaries offering to provide “dirt” on Hillary
Clinton, including “thousands of emails” obtained by Russia.9

        Third, “Russian intelligence accessed elements of multiple state or local electoral boards”
in an ongoing effort to assess “US electoral processes and related technology and equipment.”10

        Fourth, “Russia’s state-run propaganda machine—comprised of its domestic media
apparatus, outlets targeting global audiences such as RT and Sputnik, and a network of quasi-
government trolls—contributed to the influence campaign by serving as a platform for Kremlin
messaging to Russian and international audiences.”11 As part of this propaganda push, the
Russian government spent millions of dollars and employed hundreds of people to flood
Facebook and Twitter with fraudulent users, posts, articles, groups, and targeted
advertisements.12




5
  Id. at 2.
6
  Id.; see also EPIC, EPIC v. FBI (Russian Hacking) (May 22, 2018), https://epic.org/foia/fbi/russian-
hacking/ (EPIC FOIA lawsuit revealing FBI’s failure to follow its own victim notification procedures in
response to Russian cyberattacks against U.S. officials).
7
  Intelligence Community Assessment, supra note 3, at 2–3.
8
  Id. at 3.
9
  Statement of the Offense at ¶ 14, United States v. Papadopoulos, No. 17-182 (D.D.C. Oct. 5, 2017)
(“The Professor told defendant PAPADOPOULOS . . . that ‘They [the Russians] have dirt on her’; ‘the
Russians had emails of Clinton’; ‘they have thousands of emails.’”); see also House Permanent Select
Committee on Intelligence, Status of the Russia Investigation (Minority Report) (Mar. 13, 2018),
https://democrats-intelligence.house.gov/uploadedfiles/final_-
_minority_status_of_the_russia_investigation_with_appendices.pdf (noting that the “stated purpose” of
“the June 9, 2016 Trump Tower meeting with Russian emissaries” was to “provide damaging information
on Hillary Clinton”).
10
   Intelligence Community Assessment, supra note 3, at 3; see also EPIC, EPIC v. DHS (Aug. 17, 2018),
https://epic.org/foia/dhs/cybersecurity/russian-interference/default.html (EPIC FOIA lawsuit revealing
Department of Homeland Security response to Russian cyberattacks on election infrastructure).
11
   Intelligence Community Assessment, supra note 3, at 3–4.
12
   Indictment at ¶¶ 3–6, 10, United States v. Internet Res. Agency, No. 18-32 (D.D.C. Feb. 16, 2018); see
also Statement from EPIC to U.S. Senate Select Comm. on Intelligence, Sep. 4, 2018,
https://epic.org/testimony/congress/EPIC-SSCI-ForeignSocialMedia-Sept2018.pdf (calling for greater
transparency concerning Russian manipulation of news and information on social networks during and
after the 2016 election).

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        In the twenty-two months since the Intelligence Community Assessment was published,
the ICA’s findings have been repeatedly confirmed by federal inquiries13 and investigative
reporting.14 The Senate Intelligence Committee, after an “an in-depth review” of the ICA and
associated intelligence, determined that “the conclusions of the ICA are sound” and noted “that
collection and analysis subsequent to the ICA's publication continue to reinforce its
assessments.”15

Criminal Investigations into Russian Election Interference

       On January 20, 2018—two weeks after the public release of the Intelligence Community
Assessment—Donald J. Trump was inaugurated as the 45th President of the United States. On
March 2, 2017, Attorney General Jeff Sessions, who had been a prominent supporter of Mr.
Trump during the campaign, recused himself “from any existing or future investigations of any
matters related in any way to the campaigns for President of the United States.”16 As a result, the
responsibilities of the Attorney General for any such investigation passed to the Deputy Attorney
General.17

        On March 20, 2017, James B. Comey, then-Director of the Federal Bureau of
Investigation (“FBI”), confirmed to the House Permanent Select Committee on Intelligence that
the FBI was conducting an investigation into “the Russian government’s efforts to interfere in
the 2016 presidential election,” including “the nature of any links between individuals associated
with the Trump campaign and the Russian government and whether there was any coordination
between the campaign and Russia’s efforts.”18 Mr. Comey noted that the investigation would
include “an assessment of whether any crimes were committed.”19




13
   Senate Select Comm. on Intelligence, The Intelligence Community Assessment: Assessing Russian
Activities and Intentions in Recent U.S. Elections (July 3, 2018),
https://www.burr.senate.gov/imo/media/doc/SSCI%20ICA%20ASSESSMENT_FINALJULY3.pdf
[hereinafter Senate Intelligence Report].
14
   E.g., Scott Shane & Mark Mazzetti, The Plot to Subvert an Election: Unraveling the Russia Story So
Far, N.Y. Times (Sep. 20, 2018), https://www.nytimes.com/interactive/2018/09/20/us/politics/russia-
interference-election-trump-clinton.html; Philip Bump, A Broad Debunking of Trump’s Claims About
Russian Interference and the Mueller Investigation, Wash. Post (June 28, 2018),
https://www.washingtonpost.com/news/politics/wp/2018/06/28/a-broad-debunking-of-trumps-claims-
about-russian-interference-and-the-mueller-investigation/.
15
   Senate Intelligence Report, supra note 13, at 7.
16
   Press Release, U.S. Dep't of Justice, Attorney General Sessions Statement on Recusal (Mar. 2, 2017),
https://www.justice.gov/opa/pr/attorney-general-sessions-statement-recusal; see also 28 C.F.R. § 45.2(a).
17
   Id.; see also 28 U.S.C. § 508 (“In case of a vacancy in the office of Attorney General, or of his absence
or disability, the Deputy Attorney General may exercise all the duties of that office[.]”).
18
   Russian Active Measures Investigation: Hearing Before the H. Permanent Select Comm. on
Intelligence, 115th Cong. (2017) (Statement of James B. Comey, Dir., Fed. Bureau of Investigation),
https://www.fbi.gov/news/testimony/hpsci-hearing-titled-russian-active-measures-investigation.
19
   Id.

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       On May 9, 2017, President Trump removed Director Comey from office and terminated
his employment. 20 Two days later, in a nationally-televised NBC News interview, President
Trump stated:

         I was going to fire Comey knowing, there was no good time to do it. And in fact
         when I decided to just do it, I said to myself, I said you know, this Russia thing with
         Trump and Russia is a made up story, it's an excuse by the Democrats for having
         lost an election that they should have won.21

        On May 17, 2017, Deputy Attorney General Rod J. Rosenstein—in his capacity as Acting
Attorney General—appointed Robert S. Mueller III “to serve as Special Counsel for the United
States Department of Justice.”22 Mr. Rosenstein authorized Mr. Mueller to “conduct the
investigation confirmed by then-FBI Director James B. Comey in testimony before the House
Permanent Select Committee on Intelligence on March 20, 2017,” including “any links and/or
coordination between the Russian government and individuals associated with the campaign of
President Donald Trump”; “any matters that arose or may arise directly from the investigation”;
and “any other matters within the scope of 28 C.F.R. § 600.4(a).”23 Mr. Rosenstein also
authorized Mr. Mueller “to prosecute federal crimes arising from the investigation of these
matters” where “it is necessary and appropriate[.]”24

        Since Mr. Mueller was appointed, the Special Counsel has brought criminal charges
against 33 individuals and three organizations,25 including:

     •   Former National Security Adviser Michael Flynn, who pleaded guilty to making
         false statements to the FBI;26
     •   Former Trump campaign manager Paul Manafort, who was convicted of multiple
         counts of tax fraud and bank fraud27 and pleaded guilty to conspiracy against the
         United States and other charges;28


20
   Letter from Donald J. Trump, President of the United States, to James B. Comey, Dir., Fed. Bureau of
Investigation (May 9, 2017), https://www.gpo.gov/fdsys/pkg/DCPD-201700325/pdf/DCPD-
201700325.pdf.
21
   Adam Edelman, Trump says He Didn't Fire Comey 'Because of Russia,' Contradicting Past Statements,
NBC News (May 31, 2018), https://www.nbcnews.com/politics/donald-trump/trump-says-he-didn-t-fire-
comey-because-russia-contradicting-n878836.
22
   Appointment Order, supra note 1, ¶ (a).
23
   Id. ¶ (b).
24
   Id. ¶ (c).
25
   U.S. Dep’t of Justice, Special Counsel’s Office (Sep. 14, 2018), https://www.justice.gov/sco.
26
   Plea Agreement, United States v. Flynn, No. 17-232 (Dec. 1, 2017),
https://www.justice.gov/file/1015121/download.
27
   U.S. Dep’t of Justice, Special Counsel’s Office, supra note 25 (“On Aug. 21, 2018, a federal jury found
Manafort guilty on eight counts: counts 1-5, subscribing to a false individual income tax return for tax
years 2010-2014; count 12, failure to file reports of foreign bank and financial accounts for year 2012;
count 25, bank fraud; and count 27, bank fraud.”).
28
   Plea Agreement, United States v. Manafort, No. 17-201 (Sep. 14, 2018),
https://www.justice.gov/file/1094151/download.

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     •   Former Trump deputy campaign manager Rick Gates, who pleaded guilty to
         conspiracy against the United States and making a false statement to the FBI;29
     •   Former Trump campaign foreign policy adviser George Papadopolous, who
         pleaded guilty to making false statements to the FBI;30
     •   The Internet Research Agency, Concord Management and Consulting LLC, and
         thirteen Russian nationals, who are charged with conspiracy against the United
         States and related offenses for flooding social media platforms with fraudulent
         content to interfere with U.S. political processes;31 and
     •   Twelve other Russian nationals, who are charged with conspiracy to commit
         computer crimes and other offenses for hacking Democratic Party computer
         networks and email accounts linked to the Clinton campaign.32

The Special Counsel Report(s)

       In addition to the criminal offenses charged by the Special Counsel, major news
organizations33 and President Trump’s own attorneys34 have stated that Mr. Mueller intends to


29
   Plea Agreement, United States v. Gates, No. 17-201 (Feb. 23, 2018),
https://www.justice.gov/file/1038801/download.
30
   Plea Agreement, United States v. Papadopolous, No. 17-182 (Oct. 5, 2017),
https://www.justice.gov/file/1007341/download.
31
   Indictment, United States v. Internet Research Agency LLC, No. 18-32 (Feb. 16, 2018),
https://www.justice.gov/file/1035477/download.
32
   Indictment, United States v. Netyksho, No. 18-215 (July 13, 2018),
https://www.justice.gov/file/1080281/download.
33
   E.g., Charlie Savage, Legal Experts Urge Release of Watergate Report to Offer Mueller a Road Map,
N.Y. Times (Sep. 14, 2018), https://www.nytimes.com/2018/09/14/us/politics/mueller-report-grand-jury-
watergate.html (“The leading theory is that Mr. Mueller will write a report for his supervisor at the Justice
Department. . . . But there is historical precedent for another model. Echoing a move by the Watergate
prosecutor in March 1974, the grand jury with which Mr. Mueller has been working could try to send a
report about the evidence it has gathered directly to the House Judiciary Committee.”); Jeffrey Toobin,
How Rudy Giuliani Turned Into Trump’s Clown, New Yorker (Sep. 10, 2018),
https://www.newyorker.com/magazine/2018/09/10/how-rudy-giuliani-turned-into-trumps-clown
(“Mueller will file a concluding report with Rod Rosenstein, the Deputy Attorney General, at the end of
the investigation[.]”); Michael S. Schmidt & Maggie Haberman, Mueller Examining Trump’s Tweets in
Wide-Ranging Obstruction Inquiry, N.Y. Times (July 26, 2018),
https://www.nytimes.com/2018/07/26/us/politics/trump-tweets-mueller-obstruction.html (“If Mr. Mueller
does not plan to make a case in court, a report of his findings could be sent to Congress, leaving it to
lawmakers to decide whether to begin impeachment proceedings.”).
34
   E.g., Memorandum from John M. Dowd, Att’y for President Trump, to Robert S. Mueller, Special
Counsel (Jan. 29, 2018), reprinted in The Trump Lawyers’ Confidential Memo to Mueller, Explained,
N.Y. Times (June 2, 2018), https://www.nytimes.com/interactive/2018/06/02/us/politics/trump-legal-
documents.html (“It is our understanding that the reason behind the request for the interview is to allow
the Special Counsel’s office to complete its report.”); @RudyGiuliani, Twitter (Aug. 15, 2018, 9:58 AM),
https://twitter.com/RudyGiuliani/status/1029728984446193664 (“DOJ should require Mueller to submit
his report before September 7.”); Peter Nicholas, Rudy Giuliani Says Trump Lawyers Are Prepared to
Counter Mueller, Wall Street J. (Aug. 12, 2018), https://www.wsj.com/articles/rudy-giuliani-says-trump-
lawyers-are-prepared-to-counter-mueller-1534110560 (“President Trump’s lawyers believe they can

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transmit one or more report(s) detailing the Special Counsel’s findings (the “Mueller Report(s)”).
The precise number, character, and subject matter of the Mueller Report(s) are not publicly
known, though at least one such report is said to address allegations that President Trump
obstructed justice by attempting to block a criminal probe into Russian election interference.35

       There are several legal authorities under which the Special Counsel, Attorney General, or
Acting Attorney General might issue a report or otherwise release information concerning the
Special Counsel’s investigation. First, under 28 C.F.R. § 600.8(c), the Special Counsel is
required to provide the Attorney General or Acting Attorney General with a report at the
conclusion of the investigation:

        (c) Closing documentation. At the conclusion of the Special Counsel's work, he
        or she shall provide the Attorney General with a confidential report explaining the
        prosecution or declination decisions reached by the Special Counsel.36

        Second, under 28 C.F.R. § 600.8(a)(2), the Special Counsel is required to provide annual
status reports to the Attorney General or Acting Attorney General:

        (2) Thereafter, 90 days before the beginning of each fiscal year, the Special Counsel
        shall report to the Attorney General the status of the investigation, and provide a
        budget request for the following year. The Attorney General shall determine
        whether the investigation should continue and, if so, establish the budget for the
        next year.37

       Third, under 28 C.F.R. § 600.7(b), the Attorney General or Acting Attorney General may
request an explanation for any investigative or prosecutorial step taken by the Special Counsel:

        (b) The Special Counsel shall not be subject to the day-to-day supervision of any
        official of the Department. However, the Attorney General may request that the
        Special Counsel provide an explanation for any investigative or prosecutorial step,
        and may after review conclude that the action is so inappropriate or unwarranted
        under established Departmental practices that it should not be pursued. In
        conducting that review, the Attorney General will give great weight to the views of
        the Special Counsel. If the Attorney General concludes that a proposed action by a


weather a ‘negative’ report from special counsel Robert Mueller and are prepared to rebut the
conclusions, Rudy Giuliani, one of Mr. Trump’s attorneys, said in an interview.”).
35
   Carol D. Leonnig & Robert Costa, Mueller Told Trump’s Attorneys the President Remains Under
Investigation But is Not Currently a Criminal Target, Wash. Post (Apr. 3, 2018),
https://www.washingtonpost.com/politics/mueller-told-trumps-attorneys-the-president-remains-under-
investigation-but-is-not-currently-a-criminal-target/2018/04/03/d7832cf0-36c1-11e8-acd5-
35eac230e514_story.html (“The special counsel also told Trump’s lawyers that he is preparing a report
about the president’s actions while in office and potential obstruction of justice, according to two people
with knowledge of the conversations.”).
36
   28 C.F.R. § 600.8(c); see also Appointment Order, supra note 1, ¶ (d) (“Sections 600.4 through 600.10
of Title 28 of the Code of Federal Regulations are applicable to the Special Counsel.”).
37
   28 C.F.R. § 600.8(a)(2).

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       Special Counsel should not be pursued, the Attorney General shall notify Congress
       as specified in § 600.9(a)(3).38

        Fourth, under 28 C.F.R. § 600.9(a), the Attorney General or Acting Attorney General is
required to notify certain members of Congress of key developments in the Special Counsel’s
investigation:

       (a) The Attorney General will notify the Chairman and Ranking Minority Member
       of the Judiciary Committees of each House of Congress, with an explanation for
       each action —

           (1) Upon appointing a Special Counsel;

           (2) Upon removing any Special Counsel; and

           (3) Upon conclusion of the Special Counsels investigation, including, to the
           extent consistent with applicable law, a description and explanation of instances
           (if any) in which the Attorney General concluded that a proposed action by a
           Special Counsel was so inappropriate or unwarranted under established
           Departmental practices that it should not be pursued.39

       Fifth, under 28 C.F.R. § 600.4(c), the Special Counsel may take “necessary action” to
pursue penalties “outside the criminal justice system” in consultation with the Attorney General
or Acting Attorney General:

       (c) Civil and administrative jurisdiction. If in the course of his or her
       investigation the Special Counsel determines that administrative remedies, civil
       sanctions or other governmental action outside the criminal justice system might be
       appropriate, he or she shall consult with the Attorney General with respect to the
       appropriate component to take any necessary action. A Special Counsel shall not
       have civil or administrative authority unless specifically granted such jurisdiction
       by the Attorney General.40

        Sixth, the Special Counsel may use its “full power and independent authority to exercise
all investigative and prosecutorial functions of any United States Attorney”41 to transmit
“report[s],” “recommendation[s],” or other “compilation[s] of information” to Congress via the
grand jury process.42 This procedure was used by Special Counsel Leon Jaworski in 1974 to
convey “material in the Grand Jury’s possession having a material bearing on matters within the




38
   28 C.F.R. § 600.7(b).
39
   28 C.F.R. § 600.9(a).
40
   28 C.F.R. § 600.4(c).
41
   28 C.F.R. § 600.6.
42
   In re Report & Recommendation, 370 F. Supp. at 1221, 1226.

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primary jurisdiction of the United States House of Representatives Committee on the Judiciary
relating to questions of impeachment.”43

         Finally, the Special Counsel, Attorney General, and/or Acting Attorney General may
rely on their general powers under 28 C.F.R. § 600.1 et seq. (and on other legal authorities) to
disclose developments, evidence, findings, decisions, actions, or planned actions from the
Special Counsel’s investigation.

       EPIC, through this FOIA request, seeks all of the above categories of records and
supporting materials generated by or related to Special Counsel Mueller’s investigation.

                        EPIC’s Interest in the Special Counsel Investigation

        EPIC has a particular interest in the release of records related to Special Counsel
Mueller’s investigation because those records will inform EPIC’s project on Democracy and
Cybersecurity, which was launched in response the interference in the 2016 Presidential
Election.44 As part of EPIC’s Democracy and Cybersecurity project, EPIC has filed suits seeking
public release of President Trump’s tax returns and to correct numerous misstatements of fact
concerning the President’s financial ties to Russia.

EPIC v. IRS I (Donald Trump’s Tax Records)

        In EPIC v. IRS I, EPIC argues that the Internal Revenue Service (“IRS”) has the
authority, under § 6103(k)(3) of the Internal Revenue Code,45 to disclose the President’s returns
to correct numerous misstatement of fact concerning his financial ties to Russia.46 For example,
President Trump falsely tweeted that “Russia has never tried to use leverage over me. I HAVE
NOTHING TO DO WITH RUSSIA – NO DEALS, NO LOANS, NO NOTHING.”47 Yet,
numerous news organizations have covered President Trump’s ties to Russian businesses and
government.48 The case is currently pending in the D.C. Circuit.


43
   Report & Recommendation at 1, In re Report & Recommendation, 370 F. Supp. at 1221 (Mar. 1, 1974)
(capitalization altered), https://www.archives.gov/files/research/investigations/watergate/roadmap/docid-
70105890.pdf; see also 105 Cong. Rec. H9,670 (daily ed. Oct. 6, 1998) (statement of Rep. Jackson-Lee)
(“[I]t will be recalled the Watergate special prosecution force did not send to Congress an argumentative
or inflammatory document, but rather a simple road map which merely summarized and identified the
location of relevant evidence.”).
44
   See EPIC, Democracy and Cybersecurity: Preserving Democratic Institutions,
https://www.epic.org/democracy/.
45
   26 U.S.C. § 6103(k)(3).
46
   See EPIC, EPIC v. IRS (Donald Trump’s Tax Records), https://www.epic.org/foia/irs/trump-taxes/.
47
   Donald J. Trump (@realDonaldTrump), Twitter (July 26, 2016),
https://twitter.com/realdonaldtrump/status/758071952498159616?lang=en.
48
   See e.g., Tom Hamburger, Rosalind S. Helderman, & Michael Birnbaum, Inside Trump’s Financial
Ties to Russian and His Unusual Flatters of Vladimir Putin, Wash. Post (June 17, 2016),
https://www.washingtonpost.com/politics/inside-trumps-financial-ties-to-russia-and-his-unusual-flattery-
of-vladimir-putin/2016/06/17/dbdcaac8-31a6-11e6-8ff7-7b6c1998b7a0_story.html; Despite Denial,
Trump’s Connections to Russia Go Back Years, CBS News (July 29, 2016),

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EPIC v. IRS II (Trump Offers-in-Compromise)

        In EPIC v. IRS II, EPIC filed suit to compel the IRS to release certain tax records
pertaining to President Trump’s more than 300 associated business entities.49 EPIC requested all
“offers-in-compromise” used to satisfy a tax debt owed by President Trump or one of his
businesses. Under § 6103(k)(1) of the Internal Revenue Code, taxpayer “return information shall
be disclosed to all members of the general public to the extent necessary to permit inspection of
any accepted offer-in-compromise[.]”50 These records are public as a matter of law. The case is
currently pending in the U.S. Federal Court for the District of Columbia.

                                       Request for Expedition

        EPIC is entitled to expedited processing of this request.51 Under the DOJ’s FOIA
regulations, a request “shall be processed on an expedited basis” when (1) there is an “urgency to
inform the public about an actual or alleged federal government activity,” and (2) where the
request is “made by a person who is primarily engaged in disseminating information.”52 This
request satisfies both conditions.

        First, there is an “urgency to inform the public about an actual or alleged federal
government activity.”53 The actual federal government activities are (1) the Special Counsel’s
investigation of Russian interference in the 2016 U.S. presidential election, and (2) the U.S.
government’s response to Russian election interference, as reflected in the requested records of
the Special Counsel.54 The requested records also pertain to President Trump’s alleged
obstruction of justice while in office.55

      The urgency to inform the public about these government activities is clear from the
voluminous press coverage of,56 and immense public interest in,57 Mr. Mueller’s investigation

https://www.cbsnews.com/news/election-2016-donald-trump-ties-to-russia-go-back-years-dnc-email-
hack/; John Hardwood, Trump Calls the Special Counsel’s Probe a ‘Witch Hunt,’ but His Links to Russia
Go Back a Long Time, CNBC (May 23, 2018), https://www.cnbc.com/2018/05/23/trump-links-to-russia-
an-explanation.html.
49
   See EPIC, EPIC v. IRS II (Trump Offers-in-Compromise), https://epic.org/foia/irs/trump-taxes-ii/.
50
   26 U.S.C. § 6103(k)(1).
51
   5 U.S.C. § 552(a)(6)(E)(v)(II); 28 C.F.R. § 16.5(e)(1).
52
   28 C.F.R. § 16.5(e)(1), (e)(1)(ii).
53
   Id.
54
   See Appointment Order, supra note 1.
55
   See Leonnig & Costa, supra note 35 (“The special counsel also told Trump’s lawyers that he is
preparing a report about the president’s actions while in office and potential obstruction of justice,
according to two people with knowledge of the conversations.”).
56
   See, e.g., Robert Mueller — F.B.I. Director, N.Y. Times (Nov. 1, 2018),
https://www.nytimes.com/topic/person/robert-mueller-mdash-fbi-director (listing over 570 articles
concerning Robert Mueller since his appointment as Special Counsel on May 17, 2017).
57
   See, e.g., Morning Consult & Politico, National Tracking Poll (Oct. 30, 2018),
https://www.politico.com/f/?id=00000166-cb61-d184-ad67-ff67dddd0000 (finding that over 66% of
respondents were aware of, and had developed an opinion on, Special Counsel Mueller); Robert Mueller,
Google Trends (Nov. 2, 2018), https://trends.google.com/trends/explore?date=today%205-

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and findings. Americans are deeply concerned about the scope of Russian interference in the
2016 presidential election; the U.S. government’s response to that interference; the involvement
of particular individuals in that interference, including possibly President Trump; the
susceptibility of U.S. election systems and democratic institutions to future foreign interference;
and the integrity of the Special Counsel investigation itself.58 The Mueller Report(s) and
supporting materials are critical to the public’s understanding of these issues.

        Second, EPIC is an organization “primarily engaged in disseminating information.”59 As
the Court explained in EPIC v. Department of Defense, 241 F. Supp. 2d 5 (D.D.C. 2003), “EPIC
satisfies the definition of ‘representative of the news media’” entitling it to preferred fee status
under FOIA.60

        EPIC is also entitled to expedited processing because EPIC’s request involves “[a] matter
of widespread and exceptional media interest in which there exist possible questions about the
government’s integrity that affect public confidence.”61 In addition to the extraordinary media
attention given to the work of the Special Counsel,62 the requested records concern the potential
involvement of the President in a foreign campaign to influence an election that he won; the
possible obstruction of justice by the President while in office; the federal government’s capacity
to defend U.S. election systems and democratic institutions against foreign attacks; and the
discharge of a high-profile Special Counsel investigation.63 These matters unquestionably bear
on the integrity of the government and affect public confidence.

       In submitting this request for expedited processing, I certify that this explanation is true
and correct to the best of my knowledge and belief.64



y&geo=US&q=Robert%20Mueller (showing a more than 100-fold increase in U.S. Google searches for
Robert Mueller following his appointment as Special Counsel).
58
   See, e.g., NPR/PBS NewsHour/Marist, The United States’ Relationship with Russia 10, 12–13, 17 (July
25, 2018), http://maristpoll.marist.edu/wp-content/uploads/2018/07/NPR_PBS-Nature-of-the-Sample-
and-Tables_The-US-Relationship-with-Russia_July-2018_181807241048.pdf (finding that 69% of
respondents believed Russian interference occurred in the 2016 election, 63% believed Russian
interference impacted the 2016 election, 53% believed President Trump had done something illegal or
unethical “in his dealings with Russia and Russian President Vladimir Putin,” and 57% expected Russia
to interfere in the 2018 election); Suffolk University, Suffolk University/USA Today National Poll Shows
Faith in Mueller’s Russia Investigation but Not in Trump Denials (Aug. 29, 2018),
https://www.suffolk.edu/news/77724.php (“A majority of Americans (55 percent) trust special counsel
Robert Mueller and his investigation into alleged Russian meddling in the 2016 election, but 59 percent
don’t trust President Donald Trump’s denial that his campaign was involved, according to a new Suffolk
University/USA TODAY national poll.”).
59
   28 C.F.R. § 16.5(e)(1)(ii).
60
   241 F. Supp. at 15.
61
   28 C.F.R. § 16.5(e)(1)(iv).
62
   Search Results: “Robert Mueller” and “Russia”, Google News (Nov. 2, 2018),
https://www.google.com/search?tbm=nws&q=%22Robert+Mueller%22+and+%22Russia%22
(identifying 941,000 news results containing both “Robert Mueller” and “Russia”).
63
   See Shane & Mazzetti, supra note 14.
64
   See 5 U.S.C. § 552(a)(6)(E)(vi); 28 C.F.R. § 16.5(e)(3).

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                       Request for News Media Fee Status and Fee Waiver

        EPIC is a “representative of the news media” for fee classification purposes, as the Court
held in EPIC v. Department of Defense.65 Based on EPIC’s status as a “news media” requester,
EPIC is entitled to receive the requested record with only duplication fees assessed.66

         Further, any duplication fees should also be waived because disclosure of the requested
information “is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the government and is not primarily in the
commercial interest” of EPIC, the requester.67 The DOJ evaluates the three factors to determine
whether this requirement is met: (i) the “subject of the request must concern identifiable
operations or activities of the Federal Government”; (ii) disclosure must be “likely to contribute
significantly to public understanding of those operations or activities”; and (iii) “disclosure must
not be primarily in the commercial interest of the requester.”68 EPIC’s request satisfies all three
factors.

        First, the requested Mueller Report(s) and supporting materials clearly “concern[]
identifiable operations or activities of the Federal Government,”69 namely: (1) the Special
Counsel’s investigation of Russian interference in the 2016 U.S. Presidential Election; (2) the
U.S. government’s response to Russian election interference; and (3) possible obstruction of
justice by President Trump while in office.70

       Second, disclosure would be “likely to contribute significantly to public understanding of
those operations or activities.”71 Disclosure would be “meaningfully informative about
government operations or activities” because—apart from the charging documents already filed
by Mr. Mueller—little is known about the Special Counsel’s substantive findings concerning
Russian election interference; the Trump campaign’s involvement in that interference; the U.S.
government’s response to that interference; and possible obstruction of justice by President
Trump.

        Disclosure will also “contribute to the understanding of a reasonably broad audience of
persons interested in the subject,” because DOJ components must “presume that a representative
of the news media,” such as EPIC, “will satisfy this consideration.”72 The requested Mueller
Report(s) and supporting materials will reach a large audience through EPIC’s widely read
website, https://epic.org, where EPIC routinely posts government documents obtained under the
FOIA.




65
   241 F. Supp. 2d 5.
66
   5 U.S.C. § 552(a)(4)(A)(ii)(II).
67
   28 C.F.R. § 16.10(k)(1); see also § 552(a)(4)(A)(iii).
68
   28 C.F.R. §§ 16.10(k)(2)(i)–(iii).
69
   Id. § 16.10(k)(2)(i).
70
   See Appointment Order, supra note 1; Leonnig & Costa, supra note 35.
71
   28 C.F.R. §§ 16.10(k)(2)(ii)(A)–(B).
72
   Id. § 16.10(k)(2)(ii)(B)

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        Third, disclosure of the requested information is not “primarily in the commercial
interest” of EPIC.73 EPIC has no “commercial interest . . . that would be furthered by the
requested disclosure.”74 EPIC is a registered non-profit organization committed to open
government, privacy, and civil liberties.75 Moreover, DOJ components “ordinarily will presume
that where a news media requester has satisfied [the public interest standard], the request is not
primarily in the commercial interest of the requester.”76 As described above, EPIC is a news
media requester and satisfies the public interest standard.

        For these reasons, a fee waiver should be granted to EPIC’s request.

                                              Conclusion

       Thank you for your consideration of this request. I anticipate your determination on our
request within ten calendar days.77 For questions regarding this request, I can be contacted at
202-483-1140 x120 or FOIA@epic.org.

                                        Respectfully submitted,

                                        /s John Davisson
                                        John Davisson
                                        EPIC Counsel

                                        /s Enid Zhou
                                        Enid Zhou
                                        EPIC Open Government Counsel




73
   Id. §§ 16.10(k)(2)(iii)(A)–(B).
74
   Id. §§ 16.10(k)(2)(iii)(A).
75
   EPIC, About EPIC (2018), https://epic.org/epic/about.html.
76
   28 C.F.R. § 16.10(k)(2)(iii)(B).
77
   5 U.S.C. § 552 (a)(6)(E)(ii)(I).

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         Exhibit 3
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                                                            U.S. Department of Justice
                                                            Office of Information Policy
                                                            Suite 11050
                                                            1425 New York Avenue, NW
                                                            Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                            November 15, 2018

Ms. Enid Zhou
Electronic Privacy Information Center
1718 Connecticut Ave., NW
Suite 200
Washington, DC 20009                                Re:     DOJ-2018-000676 (OIP)
FOIA@epic.org                                               VRB:VAV:SBT

Dear Ms. Zhou:

        This is to acknowledge receipt of your Freedom of Information Act (FOIA) request
dated and received in this Office on November 5, 2018, in which you requested various records
pertaining to the Special Counsel investigation into Russian interference with the presidential
election and other related matters. This response is made on behalf of the Special Counsel’s
Office.

        You have requested expedited processing of your request pursuant to the Department’s
standard permitting expedition for requests involving “[a]n urgency to inform the public about
an actual or alleged federal government activity, if made by a person primarily engaged in
disseminating information.” See C.F.R. § 16.5(d)(ii) (2017). Based on the information you
have provided, I have determined that your request for expedited processing under this
standard should be denied. This Office cannot identify a particular urgency to inform the
public about an actual or alleged federal government activity beyond the public’s right to know
about government activities generally.

        Additionally, you also have requested expedited processing of your request pursuant to
the Department’s standard involving “[a] matter of widespread and exceptional media interest
in which there exist possible questions about the government’s integrity which affect public
confidence.” See 28 C.F.R. § 16.5(e)(1)(iv) (2017). Pursuant to Department policy, we
directed your request to the Director of Public Affairs, who makes the decision whether to
grant or deny expedited processing under this standard. See id. § 16.5(e)(2). Please be advised
the Director has determined that your request for expedited processing should be denied.
Although your request for expedited processing has been denied; it has been assigned to an
analyst in this Office and our processing of it has been initiated.

        The records you seek require a search in and/or consultation with another Office, and so
your request falls within “unusual circumstances.” See 5 U.S.C. 552 § (a)(6)(B)(i)-(iii) (2012
& Supp. V. 2017). Because of these unusual circumstances, we need to extend the time limit
to respond to your request beyond the ten additional days provided by the statute. We have not
yet completed a search to determine whether there are records within the scope of your
request. The time needed to process your request will necessarily depend on the complexity of
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our records search and on the volume and complexity of any material located. For your
information, this Office assigns incoming requests to one of three tracks: simple, complex, or
expedited. Each request is then handled on a first-in, first-out basis in relation to other
requests in the same track. Simple requests usually receive a response in about a month,
whereas complex requests necessarily take longer. At this time, your request has been
assigned to the complex track. In an effort to speed up our records search, you may wish to
narrow the scope of your request to limit the number of potentially responsive records or agree
to an alternative time frame for processing, should records be located; or you may wish to
await the completion of our records search to discuss either of these options.

       We have not yet made a decision on your request for a fee waiver. We will do so after
we determine whether fees will be assessed for this request.

        If you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, you may contact the analyst handing your request, Sara
Tennant, by telephone at the above number or you may write to her at the above address. You
may also contact our FOIA Public Liaison, Douglas Hibbard, for any further assistance and to
discuss any aspect of your request at: Office of Information Policy, United States Department
of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001;
telephone at 202-514-3642; or facsimile at 202-514-1009.

        Additionally, you may contact the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of Government
Information Services, National Archives and Records Administration, Room 2510, 8601
Adelphi Road, College Park, Maryland 20740-6001; e-mail at ogis@nara.gov; telephone at
202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.

        If you are not satisfied with my response to your request for expedited processing, you
may administratively appeal by writing to the Director, Office of Information Policy, United
States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC
20530-0001, or you may submit an appeal through OIP’s FOIAonline portal at
https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked
or electronically transmitted within ninety days of the date of my response to your request. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.”

                                                            Sincerely,



                                                            Vanessa R. Brinkmann
                                                            Senior Counsel
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         Exhibit 4
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VIA MAIL

December 21, 2018

Director, Office of Information Policy
United States Department of Justice, Suite 11050
1425 New York Avenue, NW
Washington, DC 20530-0001

                Freedom of Information Act Appeal, DOJ-2018-000676 (OIP)

       This letter constitutes an appeal of the U.S. Department of Justice’s (“DOJ”) Office of
Information Policy’s (“OIP”) denial of expedited processing under the Freedom of Information
Act (“FOIA”), 5 U.S.C. § 552(a)(6)(E)(i), and the DOJ’s FOIA regulation, 28 C.F.R. §
16.5(e)(4). The FOIA request was submitted on behalf of the Electronic Privacy Information
Center (“EPIC”) to the DOJ on November 5, 2018 (“EPIC’s FOIA Request”).

        EPIC’s FOIA Request sought records in possession of the DOJ concerning the
investigation by Special Counsel Robert S. Mueller into Russian interference in the 2016 United
States presidential election and related matters. EPIC’s FOIA Request established that there is an
“urgency to inform the public” about a matter “concerning actual or alleged Federal government
activity” and that EPIC is “primarily engaged in disseminating information.” See Appendix A.

        The DOJ now contends that there is no need to grant expedited processing for the release
of records about the ongoing investigation by Special Counsel Mueller into Russian interference
in the 2016 presidential election. In an acknowledgement letter from the DOJ, dated November
15, 2018, the DOJ denied EPIC’s request for expedited processing of EPIC’s FOIA Request
under two different standards, both of which EPIC satisfied with specific facts.

        First, EPIC established that there is “[a]n urgency to inform the public about an actual or
alleged federal government activity” that is “made by a person primarily engaged in
disseminating information. 28 C.F.R. § 16.5(d)(ii). But the DOJ concluded that, “based on the
information [EPIC] provided,” “[t]he Office cannot identify a particular urgency to inform the
public about an actual or alleged federal government activity beyond the public’s right to know
about government activities generally.” See Appendix B.

        Second, EPIC established that there is “[a] matter of widespread and exceptional media
interest in which there exist possible questions about the government’s integrity which affect
public confidence.” 28 C.F.R. § 16.5(a)(1)(iv). Yet the DOJ letter stated that the Director of
Public Affairs denied EPIC’s request for expedited processing without further justification for
this conclusion. See Appendix B.

        The DOJ’s determination should be reversed. According to the relevant DOJ FOIA
regulation, a request will be processed on an expedited basis whenever the request involves (1)
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“[a]n urgency to inform the public about an actual or alleged Federal government activity, if
made by a person who is primarily engaged in disseminating information” or (2) “[a] matter of
widespread and exceptional media interest in which there exist possible questions about the
government’s integrity that affect public confidence.” 28 C.F.R. § 16.5(e)(1).

        EPIC’s FOIA Request made clear that EPIC is “primarily engaged in disseminating
information” and that there is an “urgency to inform the public” about a government activity.
EPIC’s FOIA Request also made clear that the Special Counsel’s reports and related material are
a “matter of widespread and exceptional media interest” and that “there exists possible questions
about the government’s integrity that affect public confidence.” EPIC’s FOIA Request presented
specific facts demonstrating that—according to major news organizations and President Trump’s
own attorneys—the Special Counsel intends to transmit one or more reports detailing his
findings.

        Based on the voluminous press coverage of, and intense public interest in, the Special
Counsel’s investigation, it is clear that the public urgently needs to know the details of the
Special Counsel’s findings. The American public is deeply concerned about the scope of Russian
interference in the 2016 presidential election. The potential involvement of President Trump in a
foreign campaign to influence an election unquestionably bears on the integrity of the
government and inevitably affects public confidence. So, too, does the government’s capacity to
protect U.S. election systems and democratic institutions against foreign attacks. The Special
Counsel’s reports would shed significant light on both of these matters.

      EPIC hereby appeals the DOJ’s denial of expediting processing of EPIC’s FOIA Request.
EPIC should be granted expedited processing.

Procedural Background

      On November 5, 2018, EPIC submitted EPIC’s FOIA Request to the DOJ via facsimile.
EPIC specifically requested:

   (1)(a) All “report[s]” and “closing documentation” prepared under 28 C.F.R. § 600.8(c),
          whether or not such records were actually provided to the Attorney General or Acting
          Attorney General;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “report” or “closing documentation” under 28 C.F.R. § 600.8(c);

   (2)(a) All “report[s]” concerning “the status of the investigation” prepared under 28 C.F.R.
          § 600.8(a)(2), whether or not such records were actually provided to the Attorney
          General or Acting Attorney General

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “report” concerning “the status of the investigation” under 28 C.F.R. §
          600.8(a)(2);



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   (3)(a) All records “expla[ining] . . . any investigative or prosecutorial step” under 28 C.F.R.
          § 600.7(b), whether or not such records were actually provided to the Attorney
          General or Acting Attorney General;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned “explanation for any investigative or prosecutorial step” under 28 C.F.R. §
          600.7(b);

   (4)(a) All records prepared under 28 C.F.R. § 600.9(a) to “notify the Chairman and Ranking
          Minority Member of the Judiciary Committees of each House of Congress” of a
          development in the Special Counsel investigation, whether or not such records were
          actually transmitted to any member of Congress;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned notification under 28 C.F.R. § 600.9(a);

   (5)(a) All referrals by the Special Counsel, Attorney General, or Acting Attorney General
          for “administrative remedies, civil sanctions or other governmental action outside the
          criminal justice system” under 28 C.F.R. § 600.4(c), whether or not such records were
          actually transmitted to any party outside of the Special Counsel’s Office;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned referral for “administrative remedies, civil sanctions or other governmental
          action outside the criminal justice system” under 28 C.F.R. § 600.4(c);

   (6)(a) All “report[s],” “recommendation[s],” and other “compilation[s] of information”
          prepared for the eventual consideration of one or more members of Congress,
          whether or not such records were actually transmitted to any party outside of the
          Special Counsel’s Office;

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned report, recommendation, or compilation of the type described in Category
          (6)(a) of this request;

   (7)(a) All other reports summarizing or describing, for one or more persons outside of the
          Special Counsel’s Office, (i) any of the Special Counsel’s evidence, findings,
          decisions, actions, or planned actions, or (ii) any developments in the Special Counsel
          investigation; and

      (b) All drafts, outlines, exhibits, and supporting materials associated with any actual or
          planned report of the type described in Category (7)(a) of this request.

EPIC also requested expedited processing and a fee waiver. See Appendix A.

       On November 15, 2018, the DOJ sent an acknowledgement letter denying EPIC’s request
for expedited processing. The letter stated that the processing of EPIC’s FOIA Request has been


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initiated and assigned to the complex track because EPIC’s request falls within “unusual
circumstances.” EPIC’s request was assigned reference number DOJ-2018-000676 (OIP). See
Appendix B.

EPIC’s FOIA Request Satisfies The “Compelling Need” Test For Expedited Processing Because
It Involves An Urgency To Inform The Public About A Government Activity And Is Made By A
Person Primarily Engaged In Disseminating Information

         EPIC is entitled to expedited processing of this request because this request involves a
“compelling need.” 5 U.S.C. § 552(a)(6)(E)(v)(II). The DOJ FOIA regulations list four,
independent considerations for demonstrating a “compelling need” for expedited processing, and
the requester must satisfy at least one consideration to meet this “compelling need” requirement.
EPIC established that its FOIA Request (1) involves “an urgency to inform the public about an
actual or alleged federal government activity” and (2) is made by “a person primarily engaged in
disseminating information.” 16 C.F.R. § 16.5(e)(1)(ii). EPIC presented specific facts to
demonstrate a “compelling need.” EPIC explained that the activities of the Special Counsel
concern matters of current exigency and that a delayed response would compromise the public’s
ability to understand the investigation into Russian interference in the 2016 presidential election.
This determination is incorrect.

   (I) There is a Clear “Urgency to Inform the Public” About an Actual Government Activity

        First, this request self-evidently involves “an urgency to inform the public about an actual
or alleged Federal government activity.” 28 C.F.R. § 16.5(e)(1)(ii). The “actual or alleged
Federal government activity” is the Special Counsel’s investigation of Russian interference in the
2016 presidential election and the U.S. government’s response to Russian election interference.
There is also a clear “urgency to inform the public” about the details of the Special Counsel’s
findings, as is apparent from the voluminous press coverage of the Special Counsel’s
investigation. Courts evaluate three factors when determining whether the requester
demonstrates an “urgency to inform,” showing a “compelling need”: “(1) whether the request
concerns a matter of current exigency to the American public; (2) whether the consequences of
delaying a response would compromise a significant recognized interest; and (3) whether the
request concerns federal government activity.” Protect Democracy Project, Inc. v. DOD, 263 F.
Supp. 3d 293, 298–99 (D.D.C. 2017) (quoting Al-Fayed v. C.I.A., 254 F.3d 300, 310 (D.C. Cir.
2001)).

       (1) EPIC’s FOIA Request concerns a matter of current exigency to the American public

         For matters of current exigency, district courts require there be a “‘substantial interest’ in
the ‘particular aspect’ of [the] FOIA request.” EPIC v. DOD, 355 F. Supp. 2d 98, 102 (D.D.C.
2004). When determining whether an interest is substantial, courts will consider the number of
publications, the variety of sources, and the content of the articles present in the request. See
Amer. Civil Liberties Union v. DOJ, 321 F. Supp. 2d 24, 31–32 (D.D.C. 2004). According to the
district court, “case law makes it clear that only public interest in the specific subject of
a FOIA request is sufficient to weigh in favor of expedited treatment.” EPIC v. DOD, 355 F.
Supp. 2d at 102.

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        The subject of EPIC’s FOIA Request, the Special Counsel’s investigation into Russian
interference in the 2016 presidential election, is clearly of “substantial interest” to the public
because it involves a national election and an attack on U.S. democratic institutions by a foreign
adversary. At the time of EPIC’s request, EPIC identified 941,000 news articles related to
Special Counsel Mueller and “Russia.” EPIC described with significant factual detail the
criminal and intelligence community investigations showing that the Russian government carried
a multi-pronged attack on the U.S. presidential election. EPIC also cited to major news
organizations and President Trump’s own attorneys stating that Special Counsel Mueller intends
to create one or more reports detailing the Special Counsel’s findings.

        Moreover, the D.C. Circuit has held that facts within an agency's knowledge are part of
the record before the agency at the time it reviews a FOIA request, whether or not the requester
specifically referenced such facts. Nat'l Treasury Employees Union v. Griffin, 811 F.2d 644, 648
(D.C.Cir. 1987). For example, in EPIC v. DOD, the district court recognized that a Government
Accountability Report (“GAO”) that was subsequently released after the FOIA request was made
but before the denial of expedited processing was available to the agency during the time it
would have considered the requester’s expedition request. 355 F. Supp. 2d at 104 n.7. According
to the court, “there can be little doubt that the agency was aware of the GAO report and the
information it contained when considering Plaintiff's request for expedition.” Id.

        Like in EPIC v. DOD, the agency should have been aware of additional news coverage
following the submission of EPIC’s FOIA Request that underscored the urgency of the request.
For example, former Attorney General Jeff Sessions submitted his resignation at the request of
President Trump, and Matthew G. Whitaker was appointed acting Attorney General in his place.1
Acting Attorney General Whitaker has been a public critic of the Mueller investigation.2

       (2) The consequences of delaying a response would compromise a significant recognized
           interest

         Delaying a response to EPIC’s request would compromise a significant recognized
interest in understanding the specific details of the Special Counsel’s investigation into Russian
interference in the 2016 presidential election. Courts require that for a public interest to become
an interest recognized by the FOIA, the requester must show that the requested information is
“vital to [a] current and ongoing debate.” Sai v. Transportation Sec. Admin., 54 F. Supp. 3d 5, 11
(D.D.C. 2014). The D.C. Circuit has acknowledged that “stale information is of little value . . .”
Payne Enterprises, Inc. v. United States, 837 F.2d 486, 494 (D.C. Cir. 1988). For instance, in
EPIC v. DOJ, the court found that EPIC had demonstrated a risk of irreparable injury when
seeking expedited processing for information vital to an ongoing debate surrounding the legality
of the government’s warrantless surveillance program. 416 F. Supp. 2d 30, 41 (D.D.C. 2006).


1
  Devlin Barrett, Matt Zapotosky, & Josh Dawsey, Jeff Sessions Forced Out As Attorney General, Wash.
Post (Nov. 7, 2018), https://www.washingtonpost.com/world/national-security/attorney-general-jeff-
sessions-resigns-at-trumps-request/2018/11/07/d1b7a214-e144-11e8-ab2c-b31dcd53ca6b_story.html.
2
  See e.g., Max de Haldevang & Adam Pasick, All the Times Robert Mueller’s New Boss Railed Against
the Russia Probe, Quartz (Nov. 7, 2018), https://qz.com/1454952/all-matthew-whitakers-criticisms-of-
robert-muellers-russia-investigation/.

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        The release of the requested information is vital to an ongoing debate surrounding the
scope of Russian interference in the 2016 presidential election and the involvement of particular
individuals in that interference, such as the potential involvement of President Trump. In Protect
Democracy Project v. DOD, the requesters sought information related to the President’s legal
authority to launch missile strikes against a Syrian-government airbase the day after the
President launched missile strikes against Syria. The district court stated, “[b]eing closed off
from such a debate is itself a harm in an open democracy” if there is an undue delay in
processing. Protect Democracy, 263 F. Supp. 3d at 300.

        Like the public debates surrounding the legality of military strikes against the Syrian
government, there is great public debate surrounding the government’s capacity to defend U.S.
election systems and democratic institutions against foreign attacks. The loss in the value of the
timely release of information results in cognizable harm because the public cannot participate in
meaningful public debate about the Special Counsel’s substantive findings, the Trump
campaign’s involvement in Russian interference, the government’s response to that interference,
and possible obstruction of justice by President Trump.

       (3) The request concerns a federal government activity

        As previously stated, the actual government activity at issue in EPIC’s FOIA Request is
the Special Counsel’s investigation of Russian interference of the 2016 presidential election and
the U.S. government’s response to Russian election interference. EPIC’s FOIA Request included
facts—supported by both official government documents and federal regulations—to
demonstrate that the activities of the Special Counsel, including the creation of investigatory
reports, constitute a federal government activity. Moreover, the U.S. government’s response to
Russian election interference is self-evidently an actual government activity.

       (II) EPIC is an Organization “Primarily Engaged in Disseminating Information”

         EPIC is an organization “primarily engaged in disseminating information” under 28
C.F.R. § 16.5(e)(1)(ii) because, as the D.C. District Court explained in EPIC v. DOD, “EPIC
satisfies the definition of ‘representative of the news media.’” 241 F. Supp. 2d 5, 15 (D.D.C.
2003). Like the District Court’s determination in 2003, EPIC still actively gathers information
that is of interest to a segment of the public, turns the raw materials into distinct work, and
publishes that work to the public through its website, bi-weekly newsletter, and various news
outlets. In EPIC’s FOIA Request, EPIC stated that it is a registered non-profit organization
committed to open government, privacy, and civil liberties. EPIC’s request emphasized that the
requested information would reach a large audience because EPIC routinely publishes
information obtained through the FOIA on its widely read website, https://epic.org.

EPIC’s FOIA Request Also Satisfies The “Compelling Need” For Expedited Processing Because
It Involves A Matter Of Widespread Interest In Which There Exists Possible Questions About
The Government’s Integrity The Affect Public Confidence

       EPIC’s FOIA Request also established that EPIC is entitled to expedited processing
because the activities of the Special Counsel involves “[a] matter of widespread and exceptional

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media interest in which there exists possible questions about the government’s integrity that
affect public confidence.” 28 C.F.R. § 16.5(e)(1)(iv). The “primary” method for determining
whether there are questions about the government’s integrity that affect public confidence “is
[to] examin[e] the state of public coverage of the matter at issue, and whether that coverage
surfaces possible ethics issues so potentially significant as to reduce public confidence in
governmental institutions.” Oversight v. DOJ, 292 F. Supp. 3d 501, 508 (D.D.C. 2018).

         EPIC’s FOIA Request cited the extraordinary media attention given to the work of the
Special Counsel, including 941,000 news articles containing the terms “Robert Mueller” and
“Russia.” Many of the top news articles discuss the potential involvement of President Trump in
Russia’s campaign to influence an election that he won. Other articles examine President
Trump’s possible obstruction of justice and the discharge of a high-profile Special Counsel
investigation. This coverage pertains to ethics and conflict-of-interest issues that are “so
significant” as to affect the public’s confidence in democratic institutions and the government’s
ability to conduct a fair investigation. For example, a June 2018 Pew Research poll found that
most Americans lacked confidence in President Trump in his ability to handle matters related to
the Special Counsel investigation.3

       I certify that this explanation is true and correct to the best of my knowledge and belief. 5
U.S.C. § 552(a)(6)(E)(vi). For the foregoing reasons, EPIC is entitled to expedited processing of
EPIC’s FOIA Request. § 552(a)(6)(E)(iii).

Conclusion

        Thank you for your consideration of this appeal. We anticipate your determination on our
appeal within twenty working days. 5 U.S.C. § 552(a)(6)(A)(ii). For question regarding this
appeal, please contact John Davisson at 202-483-1140 x120 or davisson@epic.org, cc:
FOIA@epic.org.

                                              Respectfully submitted,

                                              /s John Davisson
                                              John Davisson
                                              EPIC Counsel

                                              /s Enid Zhou
                                              Enid Zhou
                                              EPIC Open Government Counsel




3
 Alec Tyson, Most Americans Lack Confidence in Trump to Deal Appropriately with Mueller Probe,
Pew Research Center (June 20, 2018), http://www.pewresearch.org/fact-tank/2018/06/20/trump-mueller-
probe/.

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